              Case 2:14-cr-00022-JAM Document 91 Filed 04/29/16 Page 1 of 3

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   Assistant United States Attorney
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   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:14-CR-22 JAM
11
                                  Plaintiff,             STIPULATION AND ORDER REGARDING
12                                                       RESTITUTION
                            v.
13
     LETICIA ROQUE,
14
                                 Defendant.
15

16
            The parties stipulate and agree:
17
            That the total restitution owed by the defendant in case 2:14-cr-22 is $102,521;
18
            That the Judgment and Sentence in the case 2: 14-cr-22 be amended to order restitution in the
19
     amount of $102,521, to be paid to the Internal Revenue Service at:
20
                   IRS – RACS
21                 Attn: Mail Stop 6261, Restitution
                   333 W. Pershing Avenue
22                 Kansas City, MO 64108
23          That the restitution is owed jointly and severally with any restitution ordered to be paid by any

24 co-defendant in this case; and

25          That interest on the restitution should be waived.

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27 ///

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      STIPULATION REGARDING RESTITUTION                  1
              Case 2:14-cr-00022-JAM Document 91 Filed 04/29/16 Page 2 of 3

 1
     Dated: April 28, 2016                        BENJAMIN B. WAGNER
 2                                                United States Attorney

 3
                                           By: /s/ MATTHEW G. MORRIS
 4                                             MATTHEW G. MORRIS
                                               Assistant United States Attorneys
 5
     Dated: April 28, 2016
 6                                         By: /s/ TASHA CHALFANT (auth by email)
                                               TASHA CHALFANT
 7                                             Attorney for Leticia Roque

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      STIPULATION REGARDING RESTITUTION       2
                Case 2:14-cr-00022-JAM Document 91 Filed 04/29/16 Page 3 of 3

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 2
                                   IN THE UNITED STATES DISTRICT COURT
 3
                                      EASTERN DISTRICT OF CALIFORNIA
 4

 5   UNITED STATES OF AMERICA,                             CASE NO. 2:14-CR-22
 6                                  Plaintiff,             ORDER REGARDING RESTITUTION
 7                            v.
 8   LETICIA ROQUE,
 9                                  Defendant.
10

11            Good cause appearing, the parties’ stipulation regarding restitution is adopted, and the Court

12 ORDERS:

13            That the total restitution owed by the defendant in case 2:14-cr-22 is $102,521;

14            That the Judgment and Sentence in the case 2: 14-cr-22 will be amended to order restitution in

15 the amount of $102,521, to be paid to the Internal Revenue Service at:

16                   IRS – RACS
                     Attn: Mail Stop 6261, Restitution
17                   333 W. Pershing Avenue
                     Kansas City, MO 64108
18
              That the restitution will be owed jointly and severally with any restitution ordered by this Court
19
     to be paid by any co-defendant in this case; and
20
              That interest on the restitution will be waived.
21

22
     Dated:    4/28/2016                                         /s/ John A. Mendez
23                                                               The Honorable John A. Mendez
                                                                 UNITED STATES DISTRICT COURT JUDGE
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      STIPULATION REGARDING RESTITUTION                     3
